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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                            )
                                                     )             8:05CR124
                      Plaintiff,                     )
                                                     )
       vs.                                           )           REPORT AND
                                                     )
ANDREW M. DONNER,                                    )       RECOMMENDATION
                                                     )
                      Defendant.                     )

       On May 27, 2005, defendant Andrew M. Donner (Donner), together with his counsel,
A. Michael Bianchi, appeared before the undersigned magistrate judge and was advised of
the charges, the penalties and the right to appear before a United States District Judge. After
orally consenting to proceed before a magistrate judge, Donner entered a plea of guilty to
Count I of the Indictment.
       After being sworn, Donner was orally examined by the undersigned magistrate judge
in open court as required by Federal Rule of Criminal Procedure 11. Donner also was given
the advice required by that Rule. Finally, Donner was given a full opportunity to address the
court and ask questions.
       Counsel for the government and counsel for Donner were given the opportunity to
suggest additional questions by the court. Moreover, both counsel orally certified that they
were of the opinion that the plea was knowing, intelligent and voluntary, and that there was a
factual basis for Donner’s plea of guilty to Count I of the Indictment.
       Therefore, I find and conclude that: (1) the plea is knowing, intelligent, and voluntary; (2)
there is a factual basis for the plea; (3) the provisions of Rule 11 and any other provisions of
the law governing the submission of guilty pleas have been complied with; (4) a petition to
enter a plea of guilty, on a form approved by the court, was completed by Donner, Donner’s
counsel and counsel for the government, and such petition was placed in the court file (Filing
No. 17); (5) the plea agreement is in writing and is filed in the court file (Filing No. 18); (6)
there were no other agreements or stipulations other than as contained in the written plea
agreement.
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       IT IS RECOMMENDED TO JUDGE LAURIE SMITH CAMP that:
       1.      She accept the guilty plea and find the defendant, Andrew M. Donner, guilty of
the crime set forth in Count I of the Indictment to which Donner tendered a guilty plea;
       2.      She accept the written plea agreement with the understanding that the court is
not bound by the stipulations, but will, with the aid of the presentence report, determine the
facts relevant to sentencing.


                                          ADMONITION
       Pursuant to NECrimR 57.3 any objection to this Report and Recommendation shall be
filed with the Clerk of the Court within ten (10) days after being served with a copy of this
Report and Recommendation. Failure to timely object may constitute a waiver of any such
objection. The brief in support of any objection shall be filed at the time of filing such objection.
Failure to file a brief in support of any objection may be deemed an abandonment of the
objection.
       DATED this 27th day of May, 2005.
                                                      BY THE COURT:
                                                      s/Thomas D. Thalken
                                                      United States Magistrate Judge




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